Case 1:01-cv-00152-JDT-WTL Document 40 Filed 11/14/05 Page 1 of 4 PageID #: 628



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 GARY L. BRANHAM,                   )
                                    )
            Plaintiff               )
                                    )
                                    )
      v.                            )                         Case No. 1:01-cv-0152-JDT-WTL
                                    )
 JOHN W. SNOW, SECRETARY,           )
 UNITED STATES DEPARTMENT OF        )
 TREASURY/INTERNAL REVENUE SERVICE, )
                                    )
            Defendant.              )

                      AGREED PRIVACY ACT PROTECTIVE ORDER

        This is an action brought pursuant to the Rehabilitation Act of 1973. Plaintiff seeks

 discovery of information which is encompassed by the Privacy Act of 1974, 5 U.S.C. § 552a and

 26 U.S.C. 6103, which prohibits the disclosure of information concerning tax payers. In order to

 permit the parties to discover and use throughout this proceeding, including trial, all information

 relevant to the subject matter of this case without making this information public and thus

 undermining the legislative purpose of the Privacy Act and § 6103, the Court issues this Agreed

 Order pursuant to 5 U.S.C. § 552a(b)(11), § 6103, and Rule 26(c) of the Federal Rules of Civil

 Procedure.

        This Order is entered for the purpose of protecting the rights of privacy of past and

 present federal employees of the Department of Treasury as well as tax payers. Plaintiff has

 sought discovery of certain documents and information concerning these individuals by virtue of

 Plaintiff’s discovery requests. The documents and information that Plaintiff seeks, and which

 are subject to this Order, include all such documents to which Defendant objected to producing

 on Privacy Act grounds in response to the foregoing discovery request. This Order shall also
Case 1:01-cv-00152-JDT-WTL Document 40 Filed 11/14/05 Page 2 of 4 PageID #: 629



 govern the production and use of all other documents and information in this action subject to

 the Privacy Act.

        This Order permits the Defendant to review and disclose these items to any party and

 their counsel in the course if this action under the conditions set forth herein.

        Such records shall be disclosed by Defendant only to parties acting Pro Se or through

 their attorneys. Pro Se litigants and attorneys to whom disclosures are made shall not disclose

 any of the documents or information produced subject to this Order to any person unless the

 disclosure is reasonably and in good faith calculated to aid in the preparation and/or prosecution

 of this specific legal action. Pro Se litigants and attorneys to whom disclosure is made shall

 ensure that any person to whom disclosure may be made pursuant to this Order shall, prior to

 such disclosure, have read, understood, and acknowledged in writing his/her agreement to be

 bound by this Order.

        Pro Se litigants and attorneys to whom disclosure is made shall be permitted to obtain a

 reasonable number of copies of the documents or information produced subject to this Order.

 No further copies shall be made without further Order of the Court except as may be required as

 attachments to pleadings filed with the Court, or as otherwise needed as an exhibit in this action.

        The sole purposes for which the disclosure of the documents and information is being

 made is to prepare for, prosecute, and defend this litigation.

        By producing documents subject to this Order, Defendant does not waive any objections

 to any future use of these documents that may be made by any party, either at trial or in any other

 proceeding.

        Upon conclusion of this action (including any appeals), all copies of documents released


                                                   2
Case 1:01-cv-00152-JDT-WTL Document 40 Filed 11/14/05 Page 3 of 4 PageID #: 630



 under this Order, excepting exhibits entered into evidence, shall be returned within 30 days, to

 counsel for Defendant.

        Nothing in this Order constitutes any decision by the Court concerning discovery

 disputes or the admission into evidence of any specific document or liability for payment of any

 costs for production or reproduction of documents nor does the Order constitute a waiver by

 Defendant of any right to object to discovery or admission into evidence of any document or

 record subject to this Order.

                                              Respectfully Submitted,

        SUSAN W. BROOKS
        United States Attorney


 By:    /s Debra G. Richards__________                _/s John W. Griffin/DGR_______________
        Debra G. Richards                             John W. Griffin
        Assistant United States Attorney              Attorney for Plaintiff


                               14th
        IT IS SO ORDERED this _______         November
                                      day of ______________, 2005.


                                                      _____________________________
                                                      JUDGE, United States District Court
                                                                   Southern District of Indiana
                                                       _______________________________


                                                         John Daniel Tinder, Judge
                                                         United States District Court




                                                 3
Case 1:01-cv-00152-JDT-WTL Document 40 Filed 11/14/05 Page 4 of 4 PageID #: 631




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